UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK
_______________________________ X

IRA EPSTEIN,
Piaintiff,
- against -
LOWE’S HOME CENTERS, LLC,

Defendant.

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Civil Action No. 2:18-cv-045,76-DRH-GRB

STIPULATION OF DISMISSAL

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, that

the action is dismissed, With prejudice and without costs to either party, pursuant to Federal Rule

Of Civil Pr¢¢edure 41(a)(1)(A)(ii).

  

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Coum;'elfor Defendant
LOWE’S HOME CENTERS, LLC

